Pnoa.iz
(R°'~a'“l Case 2:02-Cr-20177-BBD Document 123 Filed 05/16/05 Page 10f3 Page|D 102

  

UNITED STATES DISTRICT COURT `_£ _F D.C`»-
minn
for l 6a Li\
95 tl?t`i \5 mix
wEsTERN DISTRICT oF TENNESSEE w _, -;' "\'.:.TO%$_
v , atlanta
U.S.A. VS. CAROL LYNN ROB]NSON Dtj_ckef No`§." 2:02CR20178-01 /
2:02CR20177-01

Petition on Probation and Supervised Release

COMES NOW NICOLE D. PE'I`ERSON PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Carol Lmn Robinson who was placed on supervision by the
Honorable Bemice B. Donald sitting in the Court at Memphis, 'I'N , on the 16th day of September , 2003, who
fixed the period of supervision at three 131 gem , and imposed the general terms and conditions theretofore
adopted by the Court and also imposed special conditions and terms as follows:

 

 

l. The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the Probation
Ofiicer for treatment of narcotic addiction or drug or alcohol dependency...

2, The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or making
an obligation for any major purchases without approval of the Probation OHicer.

3. The defendant shall provide the Probation Oiiicer access to any requested financial information

4. The defendant shall make third-party risk notification

RESPECTFULLY PRESENTING PETITI()N FOR ACTION ()F COUR'I` FOR CAUSE AS FOLLOWS:

(ll` short lnscrt here; if lengthy write nn separate sheet and lttach}

Ms- Robinson will officially begin supervision in the Western District of Tennessee(Memphis) on May l], 2005. She is
currently being housed at Diersen Charities in Memphis. At an initial meeting with this officer, the defendant indicated that
she could benefit from mental health treatment In order for this officer to effectively supervise and monitor this oase, a
special condition requiring the defendant to Submit to mental health treatment as deemed appropriate is needed. She has
signed Probation Fonn 49[Waiver Of Hearing To Modify Conditions Of Probation, adding the special condition of
participation in mental health treatment as directed by the Probation Office.

PRAYING THAT TIIE COURT WILL ORDER that Carol Lynn Robinson’s Conditions of Supervised Release be
MODIFIED to include the special condition of participation in mental health treatment as directed by the Probation Office.

ORDER OF COURT

Considered and ord§ned this [[g_#day
of 200J , and ordered filed
and mad part of the records in the above

    

istrict Judge

RESPECTFULLY,

?ULM
NICOLE D. PETERSON ""°
United States Probation Officer

Place: Memohis. Tennessee 7<“"-~.'_

Dare; Mav 4. 2005 ((l

§§

pROB,QaSe 2:02-Cr-20177-BBD Document 123 Filed 05/16/05 Page 2 of 3 Page|D 103
rafael

Unr'ted States Distn'ct Court

WESTERN DiStl'in TE`.NNESSEE

Waiver of Hearing to Modify Conditions
of ProbationlSupervised Re|ease or Extend Term of Supervision

| have been advised and understand that l am entitled by law to a hearing and assistance of counsel
before any unfavorable change may be made in my Cond`rtions of Probation and Supervlsed Re|ease or
my period of supervision being extended By "assistance of counsel," | understand that l have the n`ght to
be represented at the hearing by counsel of my own choosing if l am able to retain counsel. | also
understand that l have the right to request the court to appoint counsel to represent me at such a hearing
at no cost to myself if l am not able to retain counsel of my own choosing

l hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. | also agree to
the following modifications of my Conditlons of Probation and Supervised Release or to the proposed

extension of my term of supervision:

The defendant shall participate in Mental Hea|th Treatment as deemed necessary/directed by the
U. S. Probation Of|ioe.

Witness:M Signed: AM%I%MW

NlCOLE D. PETERSON CAROL LYNN ROB|NSON
U. S. Probation Oflicer Probationer/Supervised Re|easee

Q'.':/Z.' § §"'

Date

 

ISTRICT COURT - WETERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 123 in
case 2:02-CR-20177 Was distributed by faX, mail, or direct printing on
May l8, 2005 to the parties listed.

 

Stephen R. Leffler
LEFFLER LAW OFFICE
707 Adams Ave.
l\/lemphis7 TN 38105

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

